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IN THE UNITED STATES DISTRICT COURT

 

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Terry Coombs ) id2HAR 1S PM 3:97
Plaintiff ) Case# 1: 22 -cv- 000442 SANTA FE
V. )
Forrest Fenn, Zoe Old, )
Douglas Preston, Taylor Swift, )
Jack Stuef )
Defendants )

RESPONSE TO ORDER TO SHOW CAUSE (DKT 5)
and AMENDED/ADDITION TO ORIGINAL COMPLAINT

44. Terry Coombs, hereby responds to the motion to show cause. Attorneys have given counsel

to Plaintiff. Plaintiff will file summons and OSC. These four pages are an amendment and in

addition to the original Complaint filing on 1/19/2022 consisting of 68 pages and 43 items.

Some of the items will be used as part of the mass of evidence. And some items have now

been amended here. This is a focus on an OSC. Defendants may access the original filing to

fully understand the evidence that will be presented in the discovery. Defendants may fully

access the broad spectrum of evidence on Amazon.com in news articles, The Fenn Treasure

Conspiracy by Terry Coombs. All original allegations are amended here. Courtesy copies are

available if requested.

45.Fenn stated publicly many times that he estimated ~350,000 people bought-in and/or

participated in his treasure hunt game.

46. Short and plain statements of the claim to show cause and stating that the pleader is entitled

to relief per Conley case, 355 U.S. 41, 47, 2 L. Ed. 2d 80, 78 S. Ct. 99:

a) Count 1: Forrest Fenn failed to realize his commitment through mutual contract with Plaintiff

therefore Pleader is entitled to relief from Fenn and begs the Court for relief.
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b)Count 2: Defendants conspired to defraud Plaintiff from realizing substantial wealth gains

therefore Pleader is entitled to relief from Defendants and begs the Court for relief.
47.Simplified plain statements C. Cause of Action amendment:
Count 1:
Fenn: Breach of contract. Fenn acted without sincere action. Fenn did not place or retrieved
his prize before 9/10/2016. Fenn did not fulfill his obligations of the contract. The prize was not
at the winning location, making his game an un-win-able wild goose chase.
Count 2:
Fenn: Conspire to commit fraud against Plaintiff. Advertising that the prize is in his hiding
location. profiting off of Plaintiff investment with a $2.5M wild goose chase. Conspired with
others to commit fraud.
Old: Conspire to commit fraud. Continuation and participation in the said Fenn allegations after
her father Mr. Fenn’s passing.
Preston: Conspire to commit fraud. Full knowledge and participation in a conspiracy to commit
fraud with Fenn and to advertise and expand a known fraudulent hoax against Plaintiff.
Swift: Conspire to commit fraud. Participation in a conspiracy. Full knowledge of a conspiracy
to commit fraud. Conspire with Fenn to profit off of a known fraudulent hoax against Plaintiff.
Stuef: Conspire to commit fraud. Full knowledge and participation in a conspiracy to commit
fraud with Fenn and to advertise and expand a known fraudulent hoax game ending against
Plaintiff.
Kile: Conspire to commit fraud. Full knowledge and participation in a conspiracy to commit
fraud with Fenn and to advertise and expand a known fraudulent hoax against Plaintiff.
48.Cause and evidence that justify requested relief:

If the Coombs location solve is valid, then there was a breach of contract between game host
and player. 1) advertising to the Public to purchase his two clue books for ~$160.00, profiting

Fenn, is entering into a contract for Fenn with his new players. And 2) All players entered into
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a verbal contract with Fenn when they began their own search base clues that Fenn

advertised to the Public as being available on his associated websites.

Fraud: Fenn dangled a $2.5 million carrot in front of many million people on TV and press

releases. He repeated year after year that only he himself knew the hiding location. Swift

releases prove that she knew the location in 9/2017; Kile exposes her knowledge in 8/2016

with her India clue. Preston exposes his knowledge in the Bookstore book sale show 11/2017.

Stuef filed for tax free status in Puerto Rico in 2019. Old continues to separate the prize from

the Fenn estate so she may never show a real audit of the prize contents.

49. The Plaintiff asks the Court to take notice that the persons filing motions to intervene choose
not to file a civil complaint against any of the Defendants or publish their game findings. They
do not seek justice or relief from any Court. Anderson dropped her suit against Fenn and
family. The Coombs game solve is the original Fenn intention. Taylor Swift releases verifies
the Coombs solve in forty different ways by re-creating ~forty exact Fenn clues that Coombs
had solved and published on Amazon.com. Also, Anderson is a previous treasure game
partner and website content creator for Defendant Kile. Plaintiff respects these parties and
believes that they believe that their solve is the Fenn original special location for hiding his
prize as does dozens of other players. However, a verified pleading of her solve is not proof
of the Fenn real hiding location. Her pleading represents her knowledge and possibly some
information communicated to her by Defendants in this Complaint. The Conspirators need a
different location than the real Fenn original location so as to defraud the Plaintiff.

50. The game solve is important to this Complaint:

a) The real solve would prove perjury for Fenn in an Affidavit for an Arizona suit. The Court
should take note that the two motions to intervein could have proved Fenn perjury but they
will only now want to come forward. The two interventions cannot prove perjury because
the solves are not correct. Plaintiff has proven Fenn Arizona perjury already in this

Complaint and in published news articles. Old is very careful in her previous case affidavit
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to state the prize is not part of the Fenn estate but she does not conclude that she does

not know all of the details of the prize location and the place that the prize is resting today.

b) Evidence that proves Fenn’s first intentional hiding location that also proves he worked for
more than ten years on clues for the particular location, would prove fraud that his game
was a wild goose chase with nothing for the winner game solver. On September 10, 2016
there was nothing at the Fenn prize hiding location when Coombs got there for the second
time. The cave opening shape clues and the multiple flutterby bracelet clues had been
solved by this date.

51.The prize may have never been placed out in the Rockies as Fenn advertised. But that is
irrelevant now in that Fenn stated many times in 2021 that his prize was exactly in his special
hiding location. Stuef is caught now in his fraudulent statements, by hundreds of real
Searchers and the Plaintiff.

52. Plaintiff asks the Court to hear the forty verified clue solves that show Fenn had a special
location first solved by Coombs in 2016. The Courts may wish to hear from other solvers as
that will only help the Plaintiff. Plaintiff holds a mass of Taylor Swift verification evidence. A
motion for discovery will be filed once the summons replies have been returned.

53. Supporting cases to accept Plaintiff cause statement and not dismiss.

In assessing a motion to dismiss under Fed. R. Civ. P. 12(b)(6), the Court is obligated to
accept as true all well-pleaded factual allegations in the Amended Complaint, and view
them in the light most favorable to plaintiff. See Scheuer v. Rhodes, 416 U.S. 232, 236, 40
L. Ed. 2d 90, 94 S. Ct. 1683; Hertz Corp. v. City of New York, 1 F.3d 121, 125 (2d Cir.
1993). Defendant's motion is to be granted only where "it appears beyond doubt that the
plaintiff can prove no set of facts in support of his claim which would entitle him to relief."
Still v. DeBuono, 101 F.3d 888, 891 (2d Cir.1996) (citing Conley v. Gibson, 355 U.S. 41,
48, 2 L. Ed. 2d 80, 78 S. Ct. 99 (1957)).

Conley, 355 U.S. 41, 47, 2 L. Ed. 2d 80, 78 S. Ct. 99. Instead, all the Rules require is a
“short and plain statement of the claim showing that the pleader is entitled to relief."
Fed. R. Civ. P. 8(a). This liberal standard governs because the "principal function of
pleadings under the Federal Rules is to give the adverse party fair notice of the claim
asserted so as to enable him to answer and prepare for trial." Salahuddin v. Cuomo, 861
F.2d 40, 42 (2d Cir. 1988).
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54. The associated summons documents are in service to all Defendants/ Stuef has two

associated residences and is required by granted taxation law exemptions to be present in

Puerto Rico six months per year.

55. This OSC document has shown cause per Court Order.

56. The following is cut and amended from original Complaint item 40. The original relief section

E and much of the evidence will be used moving forward.

WI The Fenn Treasure Hunt real New Mexico Solve. First published 6/10/2020. First visited

8/26/2016, first visit to the location for recovery of game prize after Solve 9/10/2016.

Following the clues through the Fenn Poem of 9 clues: eAnd with my treasures bold,

Clue 1: warm waters halt

Refers to rapids on a river. Initially it was

The El Vado Dam, NM

Clue 2: canyon down

Travel through a canyon. Rio Chama Canyon
Clue 3: too far to walk

It’s too difficult to walk to the treasure from the dam.
Clue 4; put in

Use a canoe or rafting. put-in is a rafting term
Clue 5: home of Brown

World record brown trout caught just below
The El Vado dam and rafting put-in point

Clue 6: end is nigh

Your & my death are coming as is the location.

Clue to look in the burial grounds coming down-river

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13
As I have gone a there

Tcan keep my secret, where,
eAnd bint of riches new and old.

Oy

Begin it where warm waters halt 12
nd take it in the canyon down,

ot far, but too far to walk.
AG f lw fi be of Brown.

From therd it's no place for the meek,
The end js ever drawing nigh;/
There'l} be no paddle up your greek,
Faust heavy loads and water high.

I cn eS ee oe ee

i: you've been wise and found the blaze.

ook quickly down, your quest to cease,
But tarry scant with marvel gaze,
/ Fust take the chest and go in peace.

So why is it that I myst go

eAnd leave my trov¢ for all to seek?
Lhe answer I already know,

I've done it tired, and now I'm weak.

So hear me all and listen good,

Your effort will be worth the cold.

If you are brave and in the wood
give you title to the gold.

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Clue 7: no paddle up you creak, loads of high water: More river rafting. A big rapids area is close to the treasure

location. Dark Canyon Rapids

Clue 8: Wise. Brave. Peace words. Native Americans are associated. Resting in peace. Burial grounds of

Navajo Peak

Clue 9: blaze: Something looks like a fire near the location. See Google maps north-side of Navajo Peak NM
Warning: look quickly down: The treasure is below your feet. Don’t stumble In this search area.

Hint 1: l’m weak: Don’t go where an old person can’t go

Hint 2: effort: Be ready for some difficulties to find the treasure

Hint 3: brave: Go into the dark cave to find the treasure

Hint 4: wood: Look for a wooded area.

The poem can get a searcher close enough with google maps so that Navajo Peak burial grounds could be
concluded as a good place and area to go out and search. It did for the only real Solver/Plaintiff. Tiger Wall is
a famous large rock wall on the Rio Chama and is a second blaze directly west of the google blaze and did

help the Plaintiff find the Fenn original hiding location search area.

Respectfully submitted:

Terry Coombs \Vied

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